Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 1 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 2 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 3 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 4 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 5 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 6 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 7 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 8 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23   Entered: 11/08/23 14:20:12   Page 9 of 34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 10 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 11 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 12 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 13 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 14 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 15 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 16 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 17 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 18 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 19 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 20 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 21 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 22 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 23 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 24 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 25 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 26 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 27 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 28 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 29 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 30 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 31 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 32 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 33 of
                                         34
Case: 23-41137   Doc# 24   Filed: 11/08/23 Entered: 11/08/23 14:20:12   Page 34 of
                                         34
